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                             EXHIBIT 5

                            In Support of

           United States’ Reply to Defendants’ Oppositions to
    United States’ Second Motion for Partial Summary Judgment and
    United States’ Response to Cross-Motions for Summary Judgment
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  [PENDING MOTION TO FILE EXHIBIT 5 UNDER SEAL]

       The United States has moved to attach Exhibit 5 as a sealed appendix per Paragraph 8.B
of MDL No. 2179 Pre-Trial Order # 13 (Order Protecting Confidentiality), which mandates that
documents which have been designated as “Confidential” or “Highly Confidential” must be filed
under seal as an appendix to the instrument that refers to them.
